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                                                                  UNITED STATES DISTRICT COURT
                                                                                                    for the

                                                                                            District of Columbia


                                 United States of America
                                                        \' ,                                                    Case: 1:21-mj-00366
                                                                                                                Assigned To : Meriweather, Robin M,
                                                                                                                Assign, Date: 4/9/2021
                                 GLEN MITCHELL SIMON                                                            Description: Complaint wi Arrest Warrant

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                                                                                      ARREST \VARRANT

To:              Any authorized                     la\N enforcement       officer

                 YOU ARE COMMANDED                                   to arre ,t and bring before a United States magistrate judge \vithout unnecessary                                              delay
1/I<I/l1L'   0/ /NrW/l/Il         h" al'I''''W,/1              GLEN MITCHELL SIMON
who i" accused of an offense or violation based on the following                                         document    filed with the court:

C1 Indictment                              o        Super eding Indictment                  o   Information         o   Superseding             Information                          fi Complaint
o      Probation                Violation Petition                   o    Supervised       Release Violation    Petition       o Violation                  Notice                   0 Order of the Court

This offense is briefly described a follow-:
     Knowingly entering or remaining in any restricted building or grounds without lawful authority, in violation                                of 18 U SoC § 1752(a)( 1) and (2),
     Violent entry and disorderly conduct on capitol grounds in violation of 40 USC   § 5104(e)(2)(D)




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Date:                       04/12/2020
                                                                                                                        P~     +~                           2021.04.12
                                                                                                                                                            13:50:32 -04'00'



City and state:                        Washington, D,C,                                                       Robin M, Meriweather, United States Magistrate Judge
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                                                                                                    Return

                 This \\'arrant was reeeived on                      leI"I<'1    y/       IL /7..DZ I .and      the person was arrested on                      1.I(f/(')            05/05/<021
at   1011     (flld   '''"l'l         0AIAkS VI Ll.t I                          0)\             ,

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